Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 1 of 23 Page ID #:1
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 2 of 23 Page ID #:2
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 3 of 23 Page ID #:3
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 4 of 23 Page ID #:4
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 5 of 23 Page ID #:5
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 6 of 23 Page ID #:6
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 7 of 23 Page ID #:7
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 8 of 23 Page ID #:8
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 9 of 23 Page ID #:9
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 10 of 23 Page ID #:10
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 11 of 23 Page ID #:11
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 12 of 23 Page ID #:12
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 13 of 23 Page ID #:13
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 14 of 23 Page ID #:14
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 15 of 23 Page ID #:15
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 16 of 23 Page ID #:16
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 17 of 23 Page ID #:17
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 18 of 23 Page ID #:18
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 19 of 23 Page ID #:19
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 20 of 23 Page ID #:20
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 21 of 23 Page ID #:21
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 22 of 23 Page ID #:22
Case 8:13-cr-00088-DOC Document 1 Filed 06/19/13 Page 23 of 23 Page ID #:23
